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                             EXHIBIT H




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Ellipsis Labs

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01 | Executive Summary
Overview
Ellipsis Labs engaged OtterSec to perform an assessment of the phoenix program. This assessment of
the source code was conducted between January 9th and February 8th, 2023. For more information on
our auditing methodology, see Appendix C.

Critical vulnerabilities were communicated to the team prior to the delivery of the report to speed up
remediation. After delivering our audit report, we worked closely with the team to streamline patches and
confirm remediation. We delivered final confirmation of the patches February 8th, 2023.



Key Findings
Over the course of this audit engagement, we produced 9 findings total. For a more detailed discussion of
our analysis, see Discussion.

In particular, we found a Rust soundness issue in the core red-black tree implementation (OS-EPS-ADV-00).
While this does not have immediate implications for the onchain orderbook, independent users of the
library could experience undefined behavior.

We also noted a number of denial of service scenarios (OS-EPS-ADV-02, OS-EPS-ADV-03).

In addition, we provided recommendations around validating critical invariants (OS-EPS-SUG-00), opti-
mizing data structures (OS-EPS-SUG-01), and general code quality to improve resilience.

Overall, we commend the Ellipsis Labs team for being responsive and knowledgeable. The codebase was
well written, documented, and tested prior to our audit with clear attention to detail.




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02 | Scope
A brief description of the programs and scopes is as follows.

 Name                           Description
 phoenix                        On-chain, crankless orderbook built on top of sokoban. We reviewed
                                github.com/Ellipsis-Labs/phoenix-v1 commit ee9cc03.
 phoenix-seat-manager           On-chain program which automatically manages seats for markets on the
                                Phoenix protocol. We reviewed github.com/Ellipsis-Labs/phoenix-seat-
                                manager commit e9630fc
 sokoban                        Memory-efficient data structures library. For this engagement, we fo-
                                cused our analysis on the red black tree and node allocator. We reviewed
                                github.com/Ellipsis-Labs/sokoban commit 9a7c2d0.
 ellipsis-macros                Miscellaneous macros for Solana program code, primarily intended for use
                                by phoenix. We reviewed github.com/Ellipsis-Labs/ellipsis-macros commit
                                142c920.
 phoenix-sdk                    Core SDK for interacting with the Phoenix onchain orderbook, built on
                                ellipsis-client. We reviewed github.com/Ellipsis-Labs/phoenix-sdk commit
                                a92a875.
 ellipsis-client                Lightweight unified interface around RPC and BanksClient. We reviewed
                                github.com/Ellipsis-Labs/ellipsis-client commit 1b5168d.

As part of this audit, we also provided proofs of concept to demonstrate certain scenarios. In particular,
see our Adversarial Eviction POC.




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03 | Discussion
As part of this engagement, we evaluated the onchain program and data structures for a variety of issues.
Drawing on our work with previous orderbooks such as Serum, we are able to make important parallels to
our past engagements. While we are unable to document all of our discussions, we include the important
ones here.

Adversial Eviction

Part of our analysis focused on the design of the orderbook. One interesting feature which we analyzed
heavily was eviction behavior when the orderbook was filled. We also provided a proof of concept to fully
demonstrate this behavior in Adversarial Eviction POC.

This behavior is mitigated by two main factors. First, makers on the book need to have their seats explicitly
reserved, making them semi-trusted. Second, phoenix allows for large configurations of up to 4096 orders,
making clearing the orderbook relatively expensive for adversaries.

Data Structure Concerns

One subcomponent of this audit was ensuring that the data structures operated as intended. This has
implications both for phoenix and also as an independent library. We sought to ensure that both use cases
were sound.

Here we noted a critical issue in the Rust soundness of the red-black tree (OS-EPS-ADV-00). We also made
suggestions around improving data structure efficiency (OS-EPS-SUG-01).

Denial of Service

We preface this section by noting that it is difficult to fully evaluate a program for denial of service issues.
We applied a best-effort analysis to try and find critical areas where the program might not have performed
sufficient validation of data inputs and unintentionally abort. We noted two potential issues here, OS-
EPS-ADV-02 and OS-EPS-ADV-03.

Solana Specific Issues

One other area we looked into was quirks with the Solana VM that the Ellipsis team overlooked or was
unaware of. This includes various behaviors around account creation or reallocation, of which we’ve
reported novel bugs around.

In particular, a quirk with Solana account creation ended up being the root cause of OS-EPS-ADV-02.




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04 | Findings
Overall, we report 9 findings.

We split the findings into vulnerabilities and general findings. Vulnerabilities have an immediate impact
and should be remediated as soon as possible. General findings don’t have an immediate impact but will
help mitigate future vulnerabilities.




                                                  Severity      Count
                                                    Critical      0
                                                     High         2
                                                   Medium         2
                                                     Low          1
                                                Informational     4




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05 | Vulnerabilities
Here we present a technical analysis of the vulnerabilities we identified during our audit. These vulnera-
bilities have immediate security implications, and we recommend remediation as soon as possible.

Rating criteria can be found in Appendix B.

         ID            Severity        Status    Description

 OS-EPS-ADV-00            High        Resolved   In Sokoban, the critbit, AVL tree, and red-black tree do not
                                                 correctly implement Rust’s DoubleEndedIterator trait.

 OS-EPS-ADV-01            High        Resolved   Phoenix SDK parses all transactions, even those with errors.
                                                 This can allow an attacker to spoof log transactions by man-
                                                 ually calling the Phoenix program.

 OS-EPS-ADV-02          Medium        Resolved   Edge case during account creation with extra lamports causes
                                                 denial of service.

 OS-EPS-ADV-03          Medium        Resolved   Overflows can occur during normal operation of the order-
                                                 book under certain parameter configurations.

 OS-EPS-ADV-04            Low         Resolved   In the phoenix-seat-manager, lack of checks when
                                                 claiming the market authority could potentially result in a
                                                 seat eviction DOS vulnerability.




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Ellipsis Labs Audit                                                                  05 | Vulnerabilities




OS-EPS-ADV-00 [high] [resolved] | Invalid DoubleEndedIterator Trait Implemen-
tations

Description

The critbit, AVL tree, and red-black tree do not correctly implement Rust’s DoubleEndedIterator
trait, which is described here.

For instance, the red-black tree iterator’s next and next_back method will cross each other, “double-
counting” each element. This does not follow the spec, and can even be unsafe: when using iter_mut,
one can obtain multiple mutable references to the same value.

                                                                                                  RUST

   let mut rbtree = RedBlackTree::<u64, u64, 100>::new();
   rbtree.insert(0, 0);
   rbtree.insert(1, 0);

   let mut iter = rbtree.iter_mut();
   let x: &mut u64 = iter.next().unwrap().1;
   let y: &mut u64 = iter.next().unwrap().1;

   *x = 1337;
   assert_eq!(*y, 1337);




Remediation

Rewrite next and next_back so that they do not cross each other, or remove the implementations of
DoubleEndedIterator altogether.


Patch

Resolved in #11.




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Ellipsis Labs Audit                                                                       05 | Vulnerabilities




OS-EPS-ADV-01 [high] [resolved] | SDK Transaction Spoofing

Description

When parsing events from transactions, the Phoenix SDK iterates over all the inner instructions to try and
parse out PhoenixInstruction::Log instructions. Unfortunately, this loop fails to return when the
transaction has errored, as specified in the is_err field.

   sdk_client.rs                                                                                       RUST

   for inner_ixs in tx.inner_instructions.iter() {
       for inner_ix in inner_ixs.iter() {
           let current_program_id = inner_ix.instruction.program_id.clone();
           if current_program_id != phoenix::id().to_string() {
               continue;
           }
           if inner_ix.instruction.data.is_empty() {
               continue;
           }


If a malicious user were to manually invoke the Phoenix program from a separate onchain program,
inaccurate log events could be subsequently processed in parse_phoenix_events.

In conjunction with OS-EPS-SUG-02, this could lead to a denial of service condition for users of the SDK.


Remediation

Check if the transaction was successfully completed, and if not, skip processing of the transaction.


Patch

Resolved in #50.




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Ellipsis Labs Audit                                                                      05 | Vulnerabilities




OS-EPS-ADV-02 [med] [resolved] | Account Creation DOS

Description

Account creation primitives in phoenix will error if the account already has lamports.

This could, for example, allow an attacker to deny seat creation.

   processor/manages eat.rs                                                                           RUST

          let space = size_of::<Seat>();
          invoke_signed(
              &system_instruction::create_account(
                  payer.key,
                  seat.key,
                  Rent::get()?.minimum_balance(space),
                  space.try_into().unwrap(),
                  &crate::ID,
              ),
              &[payer.clone(), seat.clone(), system_program.clone()],
              &[&[b"seat", market_key.as_ref(), trader.as_ref(), &[bump]]],




Remediation

Use transfer and allocate instead of create_account similar to what Anchor does.

                                                                                                      RUST

          // Fund the account for rent exemption.
          // ...
          // Allocate space.
          // ...
          // Assign to the spl token program.




Patch

Resolved in #1.




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Ellipsis Labs Audit                                                                  05 | Vulnerabilities




OS-EPS-ADV-03 [med] [resolved] | Explicate Overflow Boundaries

Description

Throughout phoenix, the largest numerical calculation occurs in the matching engine when calculating
adjusted quote lots.

                                                                                                  RUST

          inflight_order.adjusted_quote_lot_budget =
              inflight_order.adjusted_quote_lot_budget.saturating_sub(
                  self.tick_size_in_quote_lots_per_base_unit
                      * order_id.price_in_ticks
                      * num_base_lots_quoted,
              );


Note that adjusted quote lots are declared as a basic_u64_struct with an internal maximum u64
representation.

                                                                                                  RUST

   macro_rules! basic_u64_struct {
       ($type_name:ident) => {
           #[derive(Debug, Clone, Copy, PartialOrd, Ord, Zeroable, Pod)]
           #[repr(transparent)]
           pub struct $type_name {
               inner: u64,
           }

                 basic_u64!($type_name);
          };
   }


More concretely, let

   1. q be the number of quote atoms transacted
   2. b be the number of decimals in the base token
   3. lotsq be quote atoms per lot
   4. lotsb be base atoms per lot

This calculation will abort if
                                                q ∗ lotsq ∗ lotsb ∗ 10b ≥ 264



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Remediation

Because adjusted quote lots are multiplied by an additional factor of base_lots_per_base_unit,
the maximum size can exceed the representable limit for u64.

Consider either increasing the internal representation for adjusted quote lots to u128 or explicating
constraints on lot sizes.


Patch

The Ellipsis team acknowledges the issue and agrees to select parameters carefully with these constraints
in mind. In particular, they note that upon large price fluctuations, new markets will likely be created,
mitigating this issue for most practical usecases.




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Ellipsis Labs Audit                                                                05 | Vulnerabilities




OS-EPS-ADV-04 [low] [resolved] | Seat Eviction DOS

Description

Upon claiming the market authority for a specified Phoenix market via the phoenix-seat-manager
program, there is no check for the number of lamports in seat_deposit_collector.

This will cause subsequent executions of EvictSeat to fail due to missing funds.


Remediation

In process_claim_market_authority method, it should be verified that the
seat_deposit_collector associated with the market possesses an adequate number of lamports
to handle the rent for two TokenAccount for each seat currently occupied within the market.


Patch

Resolved in #15.




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06 | General Findings
Here we present a discussion of general findings during our audit. While these findings do not present an
immediate security impact, they represent antipatterns and could lead to security issues in the future.

         ID             Description

 OS-EPS-SUG-00          Consider stronger enforcement of critical orderbook invariants.

 OS-EPS-SUG-01          The red-black tree’s node removal algorithm can be slightly improved.

 OS-EPS-SUG-02          Consider using explicit error handling over hard panics

 OS-EPS-SUG-03          Use checked truncation over potentially unsafe typecasts




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Ellipsis Labs Audit                                                             06 | General Findings




OS-EPS-SUG-00 | Enforce Critical Orderbook Invariants

Description

Certain phoenix functions could use additional validation.

For example, process_multiple_new_orders could ensure that quote and base lots to deposit is
equal to zero if there are no bids or asks respectively.

   processor/new_order.rs                                                                     RUST

   if !bids.is_empty() {
       maybe_invoke_deposit(/**/)?;
   } // else assert quote_lots_to_deposit == 0
   if !asks.is_empty() {
       maybe_invoke_deposit(/**/)?;
   } // else assert base_lots_to_deposit == 0


In process_cancel_orders, withdrawn quantities could similarly be asserted to zero if context is
None.

   processor/cancel_multiple_orders.rs                                                        RUST

   if let Some(PhoenixVaultContext {
       // ...
   }) = vault_context_option
   {
       try_withdraw(/**/)?;
   } // else assert num_base_lots_out == 0 && num_quote_lots_out == 0




Remediation

Consider adding relevant asserts to ensure critical orderbook invariants.




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Ellipsis Labs Audit                                                                    06 | General Findings




OS-EPS-SUG-01 | Red-Black Tree Optimization
As part of its balancing procedure, the red-black tree’s _remove_tree_node method identifies a pivot
node, which represents the subtree which has lost a black node. If the pivot node is also the root, the
tree is already balanced. Otherwise, we invoke the _fix_remove method to balance the tree through
rotations.

   src/red_black_tree.rs                                                                             RUST

   if self.is_root(pivot_node_index) {
       self._color_black(pivot_node_index);
   } else {
       self._fix_remove(pivot_node_index, parent_and_dir);
   }


However, notice that if the pivot node is red, we can color it black to immediately balance the red-black
tree. This case is ignored in _fix_remove because it immediately begins traversing up the tree.


Remediation

The _remove_tree_node should immediately color the node black if the pivot node is red.

                                                                                                     RUST

   if self.is_root(pivot_node_index) || self.is_red(pivot_node_index) {
       self._color_black(pivot_node_index);
   } else {
       self._fix_remove(pivot_node_index, parent_and_dir);
   }




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OS-EPS-SUG-02 | Improved SDK Error Handling
In multiple areas in the Phoenix SDK, hard panics are used for error handling when encountering unex-
pected conditions.

   sdk_client_core.rs                                                                            RUST

                        let header = match header_event {
                            MarketEvent::Header { header } => Some(header),
                            _ => {
                                panic!("Expected a header event");
                            }
                        }?;



   sdk_client_core.rs                                                                            RUST

                             }),
                             _ => {
                                 panic!("Unexpected Event!");
                             }
                        }


As demonstrated in OS-EPS-ADV-04, some of these invariants may be violated.


Remediation

Manually log errors and return None instead of panicking.




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OS-EPS-SUG-03 | Potentially Unsafe Truncation

Description

Phoenix uses unsafe typecasting to truncate integers. While we were unable to find a way to exploit these
as is, it could lead to potentially unsafe behavior in a future refactor if integer bounds change.

   markets/fifo.rs                                                                                   RUST

   fn size_post_fee_adjustment(&self, size_in_adjusted_quote_lots:
        ,→ AdjustedQuoteLots) -> u64 {
       let fee_adjustment =
        ,→ self.compute_fee(AdjustedQuoteLots::MAX).as_u128() + u64::MAX as
        ,→ u128;
       (size_in_adjusted_quote_lots.as_u128() * u64::MAX as u128 /
        ,→ fee_adjustment) as u64
   }



   markets/fifo.rs                                                                                   RUST

   fn compute_fee(&self, size_in_adjusted_quote_lots: AdjustedQuoteLots) ->
        ,→ AdjustedQuoteLots {
       AdjustedQuoteLots::new(
           ((size_in_adjusted_quote_lots.as_u128() * self.taker_fee_bps as
        ,→ u128 + 10000 - 1)
               / 10000) as u64,
       )
   }




Remediation

Use safe casting variants such as try_from over potentially unsafe as casting.




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A | Proofs of Concept
Adversial Eviction
                                                                             RUST

   fn test_malicious_eviction() {
       let mut empty_func = |_| {};
       let mut market = setup_market();
       let maker = 0;
       let trader = 1;

          for i in 1..5 {
              place_limit_order(
                  &mut market,
                  maker,
                  100 + 10 * i,
                  1000 + 100 * i,
                  Side::Ask,
                  &mut empty_func,
              )
              .unwrap();
          }
          print_ladder(&market);

          // place aggressive orders
          let mut order_ids = vec![];
          for _i in 0..BOOK_SIZE {
              if let (Some(order_id), _) =
                  place_post_only_order(&mut market, trader, 105, 1, Side::Ask,
           ,→ &mut empty_func).unwrap()
              {
                  order_ids.push(order_id);
              } else {
                  panic!("unreachable");
              }
          }
          for order_id in order_ids {
              cancel_order(
                  &mut market,
                  trader,
                  &order_id,
                  Side::Ask,



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                       true,
                       &mut empty_func,
                 )
                 .unwrap();
          }
          print_ladder(&market);
   }




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B | Vulnerability Rating Scale
We rated our findings according to the following scale. Vulnerabilities have immediate security implications.
Informational findings can be found in the General Findings section.

 Critical              Vulnerabilities that immediately lead to loss of user funds with minimal preconditions
                       Examples:
                            • Misconfigured authority or access control validation
                            • Improperly designed economic incentives leading to loss of funds


 High                  Vulnerabilities that could lead to loss of user funds but are potentially difficult to
                       exploit.
                       Examples:
                            • Loss of funds requiring specific victim interactions
                            • Exploitation involving high capital requirement with respect to payout


 Medium                Vulnerabilities that could lead to denial of service scenarios or degraded usability.
                       Examples:
                            • Malicious input that causes computational limit exhaustion
                            • Forced exceptions in normal user flow


 Low                   Low probability vulnerabilities which could still be exploitable but require extenuating
                       circumstances or undue risk.
                       Examples:
                            • Oracle manipulation with large capital requirements and multiple transactions


 Informational         Best practices to mitigate future security risks. These are classified as general findings.
                       Examples:
                            • Explicit assertion of critical internal invariants
                            • Improved input validation




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C | Procedure
As part of our standard auditing procedure, we split our analysis into two main sections: design and
implementation.

When auditing the design of a program, we aim to ensure that the overall economic architecture is sound
in the context of an on-chain program. In other words, there is no way to steal funds or deny service,
ignoring any chain-specific quirks. This usually requires a deep understanding of the program’s internal
interactions, potential game theory implications, and general on-chain execution primitives.

One example of a design vulnerability would be an on-chain oracle that could be manipulated by flash
loans or large deposits. Such a design would generally be unsound regardless of which chain the oracle is
deployed on.

On the other hand, auditing the implementation of the program requires a deep understanding of the
chain’s execution model. While this varies from chain to chain, some common implementation vulnerabil-
ities include reentrancy, account ownership issues, arithmetic overflows, and rounding bugs.

As a general rule of sum, implementation vulnerabilities tend to be more “checklist” style. In contrast,
design vulnerabilities require a strong understanding of the underlying system and the various interactions:
both with the user and cross-program.

As we approach any new target, we strive to get a comprehensive understanding of the program first. In
our audits, we always approach targets with a team of auditors. This allows us to share thoughts and
collaborate, picking up on details that the other missed.

While sometimes the line between design and implementation can be blurry, we hope this gives some
insight into our auditing procedure and thought process.




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